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                                                                                                     CO 249
                                                                                                     Rev. 2/2010

              UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                       FOR THE DISTRICT OF COLUMBIA




 MARK R. MEADOWS
____________________________________
      Plaintiff(s)

                                                                                           1:21-cv-3217
                                                                         Civil Action No. _______________
       vs.


 NANCY PELOSI, et al.
____________________________________
      Defendant(s)


                                       AFFIDAVIT OF MAILING

           Brooks H. Spears
       I, _________________________________________, hereby state that:
               15th
       On the __________        December
                         day of ________________________, 2021 I caused to be deposited in the
                                                          _______,
United States Mail a copy of the summons and complaint in the above captioned case, postage prepaid,
return receipt requested, restricted delivery, addressed to the following defendant:

                                     7KH+RQRUDEOH0DWWKHZ0*UDYHV
                                  86$WWRUQH\IRUWKH'LVWULFWRI&ROXPELD
                                       8QLWHG6WDWHV$WWRUQH\ V2IILFH
                                           FR&LYLO3URFHVV&OHUN
                                             WK6WUHHW1:
                                           :DVKLQJWRQ'&
                                                                7017 2680 0000 1294 8676
       I have received the receipt for the certified mail, No. ______________________________
(attached hereto), indicating that delivery of the summons and complaint was made upon said defendant
       20th
on the __________         December
                  day of ________________________,  2021
                                                   _______.
       I declare under penalty of perjury that the foregoing is true and correct.




           January 11, 2021
       ________________________                                        /s/ Brooks H. Spears
                                                                _________________________________
                   (Date)                                                      (Signature)
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Case 1:21-cv-03217-CJN Document 7 Filed 01/11/22 Page 3 of 3
